     Case 1:17-md-02800-TWT Document 801 Filed 08/27/19 Page 1 of 10




                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


In re: Equifax, Inc. Customer              MDL Docket No. 2800
Data Security Breach Litigation            No. 1:17-md-2800-TWT

This document relates to:
                                           Chief Judge Thomas W. Thrash, Jr.
FINANCIAL INSTITUTION CASES


           [PROPOSED] CASE MANAGEMENT ORDER NO. 6

      On April 4, 2018, the Court entered Case Management Order No. 4 (Doc.

261) (“CMO No. 4”) setting out the protocol to govern discovery between the

Parties to this litigation. CMO No. 4 also created a protocol for the issuance of

third-party subpoenas and instructed the Parties to contact the Court concerning

any discovery disputes. CMO No. 4 at 16-18. Since CMO No. 4 was entered,

Plaintiffs served discovery subpoenas on third parties nationwide. While CMO

No. 4 provided general guidance as to third-party subpoenas, the Parties request

that the Court, subject to the consent of a third-party or if the Court finds

exceptional circumstances exercise its authority under 28 U.S.C. § 1407 to

centralize proceedings regarding the enforcement of third-party subpoenas issued

in connection with this MDL. See Fed. R. Civ. P. Rule 45(f); see also, 28 U.S.C.



                                       1
      Case 1:17-md-02800-TWT Document 801 Filed 08/27/19 Page 2 of 10




 § 1407; U.S. ex rel. Pogue v. Diabetes Treatment Centers of Am., Inc., 444 F.3d

 462, 469 (6th Cir. 2006) (“We agree . . . that the rationale underlying the MDL

 statute of ‘just and efficient’ resolution of pretrial proceedings requires the

 conclusion that Section 1407(b)'s grant of authority applies to both deposition

 subpoenas and documents-only subpoenas.”); In re Clients & Former Clients of

 Baron & Budd, P.C., 478 F.3d 670, 671 (5th Cir. 2007) (Section 1407 “authorizes

 the transferee district court to exercise the authority of a district judge in any

 district: The transferee court may hear and decide motions to compel or motions to

 quash or modify subpoenas directed to nonparties in any district. Though the

 statutory language refers to ‘pretrial depositions,’ the statute wisely has been

 interpreted to embrace document production subpoenas as well.”). However,

 nothing within this Case Management Order No. 6 shall restrict or otherwise

 prohibit a third party’s ability to challenge or otherwise contest a subpoena by filing

 a motion to quash in the local district court where the deposition is to be held.

       Based on the agreement of the Parties to this action, and for good cause

 shown, the Court enters the following Case Management Order No 6:

      Except as modified herein, the discovery protocols in the MDL (Doc. 261)

remain in effect and will continue to govern discovery in the respective cases.

      The Parties agree, and the Court orders, that motion practice and other


                                           2
      Case 1:17-md-02800-TWT Document 801 Filed 08/27/19 Page 3 of 10




proceedings relating to the enforcement of third-party subpoenas issued in

connection with this MDL are centralized. See 28 U.S.C. § 1407(b).

      Any motions to quash or modify or motions to enforce subpoenas issued in

connection with this MDL that are filed by the Parties to this MDL shall be the

responsibility of the MDL Court and any filings related to such motions shall be

filed directly in the MDL. In addition, any motions to quash or modify or motions

to enforce subpoenas issued in connection with this MDL that are filed by third-

parties may be filed directly in the MDL and, if so filed, shall be the responsibility

of the MDL Court.

      In the event a third-party files a motion to quash or modify or motion to

enforce a subpoena issued in connection with the MDL in a U.S. District Court other

than the MDL Court, no party shall oppose any other party’s motion to transfer

resolution of such proceedings to the MDL Court.

      Attorneys are permitted to make limited appearances for the purposes of

contesting or seeking to enforce a subpoena without being deemed to otherwise

consent to the jurisdiction of this Court.

      To avoid unnecessary discovery disputes, the parties are directed to meet and

confer before contacting the Court regarding a dispute concerning a third-party

subpoena. The Court will hear such disputes at its regularly scheduled status


                                             3
      Case 1:17-md-02800-TWT Document 801 Filed 08/27/19 Page 4 of 10




conferences. If the issues are unable to be resolved at the time of the status

conference, in lieu of filing motions to compel or motions to quash or modify, the

Court will direct the parties as follows:

      • The moving parties shall submit letter brief(s) setting forth their position

          as to why a subpoena should be quashed or modified or a production

          compelled. The letter briefs shall not exceed five (5) pages and shall be

          filed on the docket and served on all parties of record as well as the third-

          party recipients of the subpoena at issue.

      • Any parties opposing the relief requested in the opening letter brief shall

          have fourteen (14) days to send a responsive letter brief. The responsive

          letter brief also shall not exceed five (5) pages, shall be filed on the docket

          and served on all parties of record as well as the third-party recipients of

          the subpoena at issue.

      • Upon the close of letter briefing, the Court may either issue a ruling on the

          basis of the parties’ submissions or set a telephone conference to discuss

          the parties’ positions.

      In lieu of filing a motion to quash or modify a subpoena, any third-party who

so desires may also avail itself of the above procedures for resolving disputes related

to any subpoena it receives that has been issued in connection with the MDL.


                                            4
Case 1:17-md-02800-TWT Document 801 Filed 08/27/19 Page 5 of 10




SO ORDERED, this ___ day of August, 2019.



                             Thomas W. Thrash
                             United States District Judge




                              5
     Case 1:17-md-02800-TWT Document 801 Filed 08/27/19 Page 6 of 10




August 27, 2019                  Respectfully submitted,


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                                   6
Case 1:17-md-02800-TWT Document 801 Filed 08/27/19 Page 7 of 10




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                              7
Case 1:17-md-02800-TWT Document 801 Filed 08/27/19 Page 8 of 10




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                              8
Case 1:17-md-02800-TWT Document 801 Filed 08/27/19 Page 9 of 10




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                              9
     Case 1:17-md-02800-TWT Document 801 Filed 08/27/19 Page 10 of 10




                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was filed with this Court via its

CM/ECF service, which will send notification of such filing to all counsel of record

in the Actions this 27th day of August 2019.


                                                        /s/ David L Balser
                                                            David L. Balser




                                         10
